                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                           CEDAR RAPIDS DIVISION



 UNITED STATES OF AMERICA,
                Plaintiff,                                  No. CR 08-0001
 vs.                                               ORDER REGARDING
                                              MAGISTRATE’S REPORT AND
 WILSON CLEAVES,                                   RECOMMENDATION
                                               CONCERNING DEFENDANT’S
                Defendant.                            GUILTY PLEA
                                 ____________________


                       I. INTRODUCTION AND BACKGROUND
        On January 29, 2008, a five-count Superseding Indictment was returned against the
defendant Wilson Cleaves. On February 26, 2008, the defendant appeared before United
States Magistrate Judge Jon S. Scoles and entered a plea of guilty to Count 10 of the
Superseding Indictment.      On February 26, 2008, Judge Scoles filed a Report and
Recommendation in which he recommended that defendant’s guilty plea be accepted. On
February 26, 2008, Defendant filed a Waiver of Objections to Judge Scoles' Report and
Recommendation. The court, therefore, undertakes the necessary review of Judge Scoles'
recommendation to accept defendant’s plea in this case.


                                      II. ANALYSIS
        Pursuant to statute, this court’s standard of review for a magistrate judge’s Report
and Recommendation is as follows:
               A judge of the court shall make a de novo determination of
               those portions of the report or specified proposed findings or
               recommendations to which objection is made. A judge of the
               court may accept, reject, or modify, in whole or in part, the

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              findings or recommendations made by the magistrate [judge].

28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for
review of a magistrate judge’s Report and Recommendation on dispositive motions and
prisoner petitions, where objections are made, as follows:
              The district judge to whom the case is assigned shall make a de
              novo determination upon the record, or after additional
              evidence, of any portion of the magistrate judge’s disposition
              to which specific written objection has been made in
              accordance with this rule. The district judge may accept,
              reject, or modify the recommended decision, receive further
              evidence, or recommit the matter to the magistrate judge with
              instructions.
FED. R. CIV. P. 72(b).
       In this case, no objections have been filed, and it appears to the court upon review
of Judge Scoles' findings and conclusions, that there is no ground to reject or modify them.
Therefore, the court accepts Judge Scoles' Report and Recommendation of February 26,
2008, and accepts defendant’s plea of guilty in this case to Count 10 of the Superseding
Indictment.
       IT IS SO ORDERED.
       DATED this 27th day of February, 2008.




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